Case 1-18-01052-jmm          Doc 9-10     Filed 06/21/18      Entered 06/21/18 19:50:45


                                  LAW OFFICES OF
                                  IZIDOR MIKHLI
                                  2995 Quentin Road,
                               Brooklyn, New York 11229


Via Email                                                             December 15, 2017
   Goldstein Hall PLLC
   80 Broad Street, Suite 303
    New York, NY 10004

ATTN: BRIAN HSU


                               RE:
                               Premises: 1988 Morris Ave, Bronx NY


Mr. Hsu,

       I am in receipt of your Time of the Essence letter and unilaterally reject it as
follows:

   1) The notice provided in your letter is insufficient as Riverside Abstract, the title
      company has advised us that no one from your offices have been in contact with
      them regarding clearing title.
   2) Unless I have confirmation from the title company that you are ready, willing and
      able to deliver clear title at Closing, this TOE is premature and being untimely, is
      hereby rejected.
   3) After entering into such a contract, the contract vendee discovered that there was
      substantial damage to the Premises which if not repaired would incur further
      deterioration and damages to the Premises. Such damages to the Premises left the
      Premises in a condition that were in no way similar to what was represented to the
      contract vendee at the time of entering into such contract of sale. Despite such
      substantial damage to the Premises including structural damage this has not been
      addressed by your clients.

      Let us reconvene and discuss an appropriate closing date which my client will
make his best efforts to comply with.

                                                  Very truly yours,



                                                  ______________________
                                                  Izidor Mikhli, Esq.
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                                 IZIDOR MIKHLI
                                 2995 Quentin Road,
                              Brooklyn, New York 11229


Via Email                                                            December 15, 2017
   Goldstein Hall PLLC
   80 Broad Street, Suite 303
    New York, NY 10004

ATTN: BRIAN HSU


                              RE:
                              Premises: 1974 Morris Ave, Bronx
                                        1821 Topping Ave, Bronx
                                        1143 Forrest Ave, Bronx


Mr. Hsu,

       I am in receipt of your Time of the Essence letter for scheduling a closing for
these Premises and unilaterally reject it as follows:

   1) The notice provided in your letter is insufficient as Riverside Abstract, the title
      company has advised us that no one from your offices have been in contact with
      them regarding clearing title. Further, 1821 Topping Ave has a lis pendens filed
      against the Property which is not yet clear as per Title.
   2) Unless I have confirmation from the title company that you are ready, willing and
      able to deliver clear title at Closing, this TOE is premature and being untimely, is
      hereby rejected.

      Let us reconvene and discuss an appropriate closing date which my client will
make his best efforts to comply with.

                                                 Very truly yours,



                                                 ______________________
                                                 Izidor Mikhli, Esq.
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                                  LAW OFFICES OF
                                  IZIDOR MIKHLI
                                  2995 Quentin Road,
                               Brooklyn, New York 11229


Via E-mail                                                            December 15, 2017
   Goldstein Hall PLLC

   80 Broad Street, Suite 303

    New York, NY 10004

    ATTN: BRIAN HSU




                               RE: 770 Beck LLC to Beck/Morris Mazel LLC
                               Premises: 770 Beck Street, Bronx, NY 10455


Mr. Hsu,

       I am in receipt of your Time of the Essence letter and unilaterally reject it as
follows:

   1) The notice provided in your letter is insufficient as Riverside Abstract, the title
      company has advised us that no one from your offices have been in contact with
      them regarding clearing title.
   2) Unless I have confirmation from the title company that you are ready, willing and
      able to deliver clear title at Closing, this TOE is premature and being untimely, is
      hereby rejected.
   3) Further, the lease presented to us for the 1st floor of this Premises was fraudulent
      and thus a misrepresentation of a material fact, which was one of the base
      inducement for entering into such a contract of sale.

      Let us reconvene and discuss an appropriate closing date which my client will
make his best efforts to comply with.

                                                  Very truly yours,



                                                  ______________________
                                                  Izidor Mikhli, Esq.
